Case 6:15-cv-01613-GAP-T_S Document 25 Filed 12/07/16 Page 1 of 1 PageID 292



                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

DOUGLAS FARRELL,

           Plaintiff,

v.                                         Case No.: 6:15-cv-01613-GAP-TBS

NATIONSTAR MORTGAGE, LLC,

           Defendant.
                                 /

                               MEDIATION REPORT

     In   accordance    with   the   Court’s   mediation   order,   a   mediation
conference was held on December 7, 2016.            Plaintiff and his trial
counsel, and Defendant’s corporate representative and trial counsel
attended and participated.      Each representative possessed the requisite
settlement authority.
     The case has been completely settled.
     Done December 7, 2016 in Tampa, Florida.
                                      Respectfully submitted,


                                     /s/ Peter J. Grilli
                                     Peter J. Grilli, Esq.
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                                     Mediator
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     I HEREBY CERTIFY that December 7, 2016 I electronically filed the
foregoing document with the United States District Court Electronic Case
Filing system, which will electronically send copies to counsel of
record.


                                           /s/ Peter J. Grilli
                                           Peter J. Grilli, Esq.
